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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

BAHIA AMAWI,                                       §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                  1:18-CV-1091-RP
                                                   §
PFLUGERVILLE INDEPENDENT                           §
SCHOOL DISTRICT, et al.,                           §                  Consolidated with:
                                                   §                  1:18-CV-1100-RP
               Defendants.                         §

                                              ORDER

        IT IS ORDERED that the hearing in this matter set to commence at 9:00 a.m. CDT on

March 29, 2019, will run for no longer than 3 hours. Plaintiffs will have no longer than ninety

minutes to present arguments and rebuttals on all pending motions to be addressed at the hearing.

Likewise, Defendants will have no longer than ninety minutes to present arguments and rebuttals on

all pending motions to be addressed at the hearing. Plaintiffs must determine among themselves

how to allocate their time. Defendants must also determine among themselves how to allocate their

time.

        SIGNED on March 26, 2019.

                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE
